Append 7 sdf SFC-EAS ECF No. 37-12, PagelD.1594 Filed 10/07/24 Page 1 of 2

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Che@BO3GL PME EEBBAS ECFA S4-feHaddO.983- Fred te@eH2. FR9e 2 dred 10/07

Prepared For

Personal & Confidential

Date Generated May 16, 2023
Report Number 0673-0083-19

About Dispute Results

Our reinvestigation of the dispute you recently submitted is now complete. If we were able to make
changes to your credit report based on information you provided, we have done so. Otherwise we
have contacted the company reporting the information you disputed, supplied them all relevant
information and any documents you gave us with your dispute, and instructed them to: review all
information we provide them about your dispute; verify the accuracy of the information; provide us a
response to your dispute; and update their records and systems as necessary.

If an item you disputed is not in the list of results below, it was either not appearing in your credit file
or it already reflected the requested status at the time of our reinvestigation.
Here are your results
JPMCB CARD 4)
Account + 464018XXXXXXXXXX

Information on this item has been updated. Please review your report for the details. Updated

You can contact JPMCB CARD at PO BOX 15369, WILMINGTON , DE 19850 or (800) 945-2000

® After your dispute

Account Info

Account Name JPMCB CARD Balance $9,772
Account Number 46401 BXXXXXXXAXK Balance Updated 05/16/2023
Account Type Credit Card Recent Payment .
Monthly Payment -

Date Opened 02/03/2009 Original Balance $8,000
Status Account charged off. $9,772 Highest Balance $9,772

written off, $9,772 past due a 7

as of May 2023.
Status Updated 07/2021 On Record Until ‘Sep 2027

2023 CO CO CO CcO co = - = - - = =

2022 CO CO CO co co co co co cO cO co co
2021 30 60 90 120 150 180 CO CO CO CO co CO
2020 v¥ v ¥v v ¥ v v v v ¥v ¥v ¥
2019 ¥ v v v ¥ v v v v v v v
2018 ¥ v v v v v v v v v v v
2017 ¥ v v v v v v v v v v v
2016 = - - - = v v v v v v v

¥ Current / Terms met 30 Past due 30 days

60 Past due 60 days 90 Past due 90 days
120 Past due 120 days 150 Past due 150 days ‘
180 Past due 180 days CO. Charge off

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